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                           Exhibit M




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 1    ROBERT W. FERGUSON
      Attorney General
 2
      SPENCER W. COATES, WSBA #49683
 3    Assistant Attorney General
      Complex Litigation Division
 4    800 Fifth Avenue, Suite 2000
      Seattle, WA 98104-3188
 5    (206) 464-7744

 6    ZACHARY J. PEKELIS, WSBA #44557
      W. SCOTT FERRON, WSBA #61154
 7    ERICA P. CORAY, WSBA #61987
      AI-LI CHIONG-MARTINSON, WSBA #53359
 8    Special Assistant Attorneys General
      PACIFICA LAW GROUP LLP
 9    1191 2nd Avenue, Suite 2000
      Seattle, WA 98101-3404
10    (206) 245-1700

11                     UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WASHINGTON
12
      NICHOLAS ROLOVICH,                         NO. 2:22-cv-00319-TOR
13
                         Plaintiff,              PLAINTIFF’S FIRST SET OF
14                                               REQUESTS FOR ADMISSION TO
         v.                                      DEFENDANT AND
15                                               DEFENDANT’S ANSWERS AND
      WASHINGTON STATE                           OBJECTIONS THERETO
16    UNIVERSITY,

17                       Defendant.

18            In accordance with Federal Rule of Civil Procedure 36, Defendant

19    Washington State University (“WSU”) hereby submits these Answers and

20    Objections (“Answers”) to Plaintiff’s First Set of Requests for Admission to

21    Defendant (“Requests”) as follows:

22

      PLF.’S FIRST SET OF REQUESTS               1           ATTORNEY GENERAL OF WASHINGTON
                                                                  Complex Litigation Division
      FOR ADMISSION TO DEF. AND                                   800 Fifth Avenue, Suite 2000
                                                                    Seattle, WA 98104-3188
      DEF.’S ANSWERS AND                                                 (206) 464-7744
      OBJECTIONS THERETO                                              Exhibit M Page 2
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 1         GENERAL OBJECTIONS APPLICABLE TO ALL ANSWERS

 2          1.     WSU objects to Plaintiff’s characterization of the Requests as

 3    “continuing.” WSU will respond to the specific Requests set forth herein and will

 4    supplement its Answers as necessary to comply with the Federal Rules of Civil

 5    Procedure. WSU reserves the right to modify or supplement these Answers as

 6    necessary.

 7          2.     WSU objects to the Requests as vague, ambiguous, overbroad,

 8    unduly burdensome, duplicative, not relevant to any party’s claims or defenses,

 9    and not proportional to the needs of the litigation. WSU specifically objects to

10    the Requests’ specified time period as overbroad in that it extends well after

11    Plaintiff filed this lawsuit. Unless otherwise stated, these Answers pertain to the

12    time period of January 1, 2020, to November 14, 2022.

13          3.     WSU objects to the Requests’ definition of “You/Your” as vague,

14    ambiguous, overbroad, not relevant to any party’s claims or defenses, and not

15    proportional to the needs of the litigation, including to the extent it purports to

16    require WSU to obtain information from persons who either are not WSU

17    employees or were not involved in WSU’s actions challenged by Plaintiff. WSU

18    understands these Requests to seek—and its Answers reflect—only information

19    currently known by WSU.

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 1          4.     WSU objects to the Requests to the extent they impose burdens or

 2    seek discovery beyond what is permitted or required under the Federal Rules of

 3    Civil Procedure, including Rules 26 and 36.

 4          5.     WSU objects to the Requests to the extent they call for information

 5    protected from disclosure by attorney-client privilege, the work product doctrine,

 6    or any other applicable privilege, protection, or immunity.

 7          6.     WSU objects to the Requests to the extent they seek information

 8    protected from disclosure by the Family Education Rights and Privacy Act

 9    (FERPA), 20 U.S.C. § 1232g, the Health Insurance Portability and

10    Accountability Act (HIPAA), 42 U.S.C. § 1320d-6, or any other applicable

11    privacy protection. WSU will only disclose such protected information consistent

12    with the Stipulated Protective Order entered in this case. See ECF No. 61.

13          7.     WSU objects to the Requests’ use of the undefined phrase “the

14    review committee” as vague and ambiguous. In these Answers, WSU uses the

15    phrase “review committee” to refer to the following current or former WSU

16    employees, two or more of whom conducted an initial, “blind” review of any

17    employee request for a religious exemption with respect to Proclamation 21.14.1

18    (including Plaintiff’s request): Lisa Gehring, Bonnie Dennler, Teddi Phares, and

19    Daniel Records. See WSU Ans. to Plf.’s Interrogatory No. 13.

20          8.     The foregoing General Objections are incorporated by reference into

21    the Answer to each Request. WSU not having listed specifically any one of its

22

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 1    General Objections in response to a particular Interrogatory does not constitute a

 2    waiver of any objection, even if it could have been specifically stated.

 3
 4                           REQUESTS FOR ADMISSION

 5          REQUEST FOR ADMISSION NO. 1: Admit that the review committee

 6    found that Plaintiff described a sincerely held religious belief in his Request for

 7    Religious Exemption.

 8          ANSWER: WSU objects to this Request as vague and ambiguous and on

 9    the other grounds set forth in its General Objections, especially as to the

10    undefined phrases “review committee” and “described a sincerely held religious

11    belief.” WSU further objects to this Request as irrelevant to any party’s claims

12    or defenses.

13          Subject to and without waiving the foregoing objections, the Request is

14    admitted in part, and denied in part. WSU admits that, after reviewing only the

15    information Plaintiff submitted in writing on October 3, 2021, the review

16    committee found the information contained therein sufficient at that stage of the

17    accommodation process to “support the accommodation request based on a

18    sincerely held religious belief.” Except as otherwise admitted, denied.

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      PLF.’S FIRST SET OF REQUESTS                4           ATTORNEY GENERAL OF WASHINGTON
                                                                   Complex Litigation Division
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      DEF.’S ANSWERS AND                                                  (206) 464-7744
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 1          REQUEST FOR ADMISSION NO. 2: Admit that the review committee

 2    did not reach out to Plaintiff for follow-up information regarding the sincerity of

 3    his religious belief described in his Request for Religious Exemption.

 4          ANSWER: WSU objects to this Request as vague and ambiguous and on

 5    the other grounds set forth in its General Objections, especially as to the lack of

 6    a specified time period and the vague use of the phrase “religious belief,” and the

 7    undefined and vague phrases “review committee,” “reach out,” and “follow-up

 8    information.” WSU further objects to this Request as irrelevant to any party’s

 9    claims or defenses.

10          Subject to and without waiving the foregoing objections, the Request is

11    admitted in part, and denied in part. WSU admits that the review committee did

12    not request additional information from Plaintiff regarding his asserted religious

13    objection to the COVID-19 vaccines between the time he submitted materials in

14    support of his religious accommodation request on October 3, 2021, and when

15    WSU denied his request on October 18, 2021. Except as otherwise admitted,

16    denied.

17
18          REQUEST FOR ADMISSION NO. 3: Admit that the review committee,

19    after a review of Plaintiff’s written and/or oral communications in his Request

20    for Religious Exemption, determined that such communications supported

21    Plaintiff’s accommodation request based on a sincerely held religious belief.

22

      PLF.’S FIRST SET OF REQUESTS                 5          ATTORNEY GENERAL OF WASHINGTON
                                                                   Complex Litigation Division
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 1          ANSWER: WSU objects to this Request as vague and ambiguous and on

 2    the other grounds set forth in its General Objections, especially as to the

 3    undefined and vague phrases “review committee” and “written and/or oral

 4    communications.” WSU further objects to this Request as irrelevant to any

 5    party’s claims or defenses.

 6          Subject to and without waiving the foregoing objections, the Request is

 7    admitted in part, and denied in part. WSU admits that, after reviewing only the

 8    information Plaintiff submitted in writing on October 3, 2021, the review

 9    committee found the information contained therein sufficient at that stage of the

10    accommodation process to “support the accommodation request based on a

11    sincerely held religious belief.” Except as otherwise admitted, denied.

12
13          REQUEST FOR ADMISSION NO. 4: Admit that the review committee

14    did not contact Plaintiff for follow-up information related to his Request for

15    Religious Exemption.

16          ANSWER: WSU objects to this Request as vague and ambiguous and on

17    the other grounds set forth in its General Objections, especially as to the lack of

18    a specified time period and the vague phrases “review committee” and “follow-

19    up information related to his Request for Religious Exemption.” WSU further

20    objects to this Request as irrelevant to any party’s claims or defenses.

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      PLF.’S FIRST SET OF REQUESTS                 6          ATTORNEY GENERAL OF WASHINGTON
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      DEF.’S ANSWERS AND                                                  (206) 464-7744
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 1          Subject to and without waiving the foregoing objections, the Request is

 2    admitted in part, and denied in part. WSU admits that the review committee did

 3    not request additional information from Plaintiff regarding his asserted religious

 4    objection to the COVID-19 vaccines between the time he submitted materials in

 5    support of his religious accommodation request on October 3, 2021, and when

 6    WSU denied his request on October 18, 2021. Except as otherwise admitted,

 7    denied.

 8
 9          REQUEST FOR ADMISSION NO. 5: Admit that the review committee

10    contacted individuals other than Plaintiff for follow-up information to assess the

11    sincerity of Plaintiff’s religious belief described in his Request for Religious

12    Exemption.

13          ANSWER: WSU objects to this Request as vague and ambiguous and on

14    the other grounds set forth in its General Objections, especially as to the vague

15    phrases “review committee,” “follow-up information,” and Plaintiff’s

16    unidentified “religious belief.” WSU further objects to this Request as irrelevant

17    to any party’s claims or defenses. WSU further objects to this Request to the

18    extent it calls for information protected from disclosure by attorney-client

19    privilege, the work product doctrine, or any other applicable privilege protection,

20    or immunity.

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      PLF.’S FIRST SET OF REQUESTS                7           ATTORNEY GENERAL OF WASHINGTON
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      DEF.’S ANSWERS AND                                                  (206) 464-7744
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 1          Subject to and without waiving the foregoing objections, the Request is

 2    admitted in part, and denied in part. WSU admits that HRS invited and received

 3    information from the WSU Athletics Department concerning Plaintiff’s religious

 4    accommodation request, including but not limited to information relevant to

 5    whether Plaintiff held sincere religious beliefs in conflict with vaccination against

 6    COVID-19. Except as otherwise expressly admitted, denied.

 7

 8          REQUEST FOR ADMISSION NO. 6: Admit that the review committee

 9    did not contact anyone in the WSU Athletic Department for follow-up

10    information to assess the sincerity of Plaintiff’s religious belief described in his

11    Request for Religious Exemption.

12          ANSWER: WSU objects to this Request as vague and ambiguous and on

13    the other grounds set forth in its General Objections, especially as to the vague

14    phrases “review committee,” “follow-up information,” and Plaintiff’s

15    unidentified “religious belief.” WSU further objects to this Request as irrelevant

16    to any party’s claims or defenses. WSU further objects to this Request to the

17    extent it calls for information protected from disclosure by attorney-client

18    privilege, the work product doctrine, or any other applicable privilege protection,

19    or immunity.

20          Subject to and without waiving the foregoing objections, denied.

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      PLF.’S FIRST SET OF REQUESTS                  8           ATTORNEY GENERAL OF WASHINGTON
                                                                     Complex Litigation Division
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 1          REQUEST FOR ADMISSION NO. 7: Admit that the reversal of the

 2    review committee’s determination that Plaintiff’s Request for Religious

 3    Exemption described a sincerely held religious belief was the only instance in

 4    which the review committee’s finding of sincerity was subsequently reversed.

 5          ANSWER: WSU objects to this Request as vague and ambiguous and on

 6    the other grounds set forth in its General Objections, especially as to the vague

 7    and undefined phrases “review committee” and “reversal.” WSU further objects

 8    to this Request as irrelevant to any party’s claims or defenses.

 9          Subject to and without waiving the foregoing objections, denied.

10

11          REQUEST FOR ADMISSION NO. 8: Admit that WSU never prepared

12    any documented analysis of the financial impact that would have resulted from

13    granting an accommodation to Plaintiff’s Request for Religious Exemption.

14          ANSWER: WSU objects to this Request as vague and ambiguous and on

15    the other grounds set forth in its General Objections, especially as to the vague

16    and undefined phrases “documented analysis” and “financial impact.” WSU

17    further objects to this Request as irrelevant to the claims or defenses in this case.

18          Subject to and without waiving the foregoing objections, denied.

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      PLF.’S FIRST SET OF REQUESTS                  9           ATTORNEY GENERAL OF WASHINGTON
                                                                     Complex Litigation Division
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 1          REQUEST FOR ADMISSION NO. 9: Admit that WSU did nothing to

 2    verify the authenticity of vaccination cards that WSU Employees and students

 3    provided in response to the Vaccine Mandate.

 4          ANSWER: WSU objects to this Request as vague and ambiguous and on

 5    the other grounds set forth in its General Objections, especially in its use of the

 6    phrase “WSU did nothing” and its suggestion that WSU students provided

 7    vaccination cards in response to the “Vaccine Mandate,” which the Requests

 8    define as “the COVID-19 vaccination that was mandate pursuant to the

 9    Governor’s Proclamation 21-14.1.” WSU further objects to this Request as

10    irrelevant to any party’s claims or defenses.

11          Subject to and without waiving the foregoing objections, denied.

12
13          REQUEST FOR ADMISSION NO. 10: Admit that WSU had no

14    procedure for determining whether Employees or students provided fake

15    vaccination cards in response to the Vaccine Mandate.

16          ANSWER: WSU objects to this Request as vague and ambiguous and on

17    the other grounds set forth in its General Objections, especially in its use of the

18    phrase “WSU had no procedure” and its suggestion that WSU students provided

19    vaccination cards in response to the “Vaccine Mandate,” which the Requests

20    define as “the COVID-19 vaccination that was mandate pursuant to the

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22

      PLF.’S FIRST SET OF REQUESTS                10           ATTORNEY GENERAL OF WASHINGTON
                                                                    Complex Litigation Division
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 1    Governor’s Proclamation 21-14.1.” WSU further objects to this Request as

 2    irrelevant to the claims or defenses in this case.

 3          Subject to and without waiving the foregoing objections, denied.

 4

 5          REQUEST FOR ADMISSION NO. 11: Admit that WSU granted every

 6    Request for Religious Exception sought by any student-athlete participating in

 7    the football program.

 8          ANSWER: WSU objects to this Request as vague, ambiguous and on the

 9    other grounds set forth in its General Objections, especially in its use of the

10    undefined phrase “Request for Religious Exception,” without any reference to

11    whatever requirement from which an “[e]xception” was sought. WSU further

12    objects to the Request as overbroad, unduly burdensome, and not proportional to

13    the needs of the case, including because it is not limited by any relevant

14    timeframe. WSU further objects to this Request as calling for information

15    protected from disclosure by FERPA. WSU further objects to this Request as

16    irrelevant to any party’s claims or defenses.

17          Subject to and without waiving the foregoing objections, denied.

18
19          REQUEST FOR ADMISSION NO. 12: Admit that WSU granted every

20    Request for Religious Exception by any student who sought an exception.

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      PLF.’S FIRST SET OF REQUESTS                 11            ATTORNEY GENERAL OF WASHINGTON
                                                                      Complex Litigation Division
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 1          ANSWER: WSU objects to this Request as vague, ambiguous and on the

 2    other grounds set forth in its General Objections, especially in its use of the

 3    undefined phrase “Request for Religious Exception,” without any reference to

 4    whatever requirement from which an “[e]xception” was sought. WSU further

 5    objects to the Request as overbroad, unduly burdensome, and not proportional to

 6    the needs of the case, including because it is not limited by any relevant

 7    timeframe. WSU further objects to this Request as calling for information

 8    protected from disclosure by FERPA. WSU further objects to this Request as

 9    irrelevant to any party’s claims or defenses.

10          Subject to and without waiving the foregoing objections, denied.

11
12          REQUEST FOR ADMISSION NO. 13: Admit that WSU’s Athletics

13    Department utilized Cortext for communicating about medical and health-related

14    issues, including Plaintiff’s vaccination status.

15          ANSWER: WSU objects to this Request as vague and ambiguous and on

16    the other grounds set forth in its General Objections, especially as to the vague

17    and undefined phrase “medical and health-related issues.” WSU further objects

18    to this Request as overbroad and unduly burdensome, including due to the lack

19    of a specified timeframe, and to the extent it seeks information based on

20    documents not within WSU’s possession, custody, or control. WSU further

21    objects to the Request as seeking information protected from disclosure by

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      PLF.’S FIRST SET OF REQUESTS                 12           ATTORNEY GENERAL OF WASHINGTON
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 1    FERPA or HIPAA. Finally, WSU objects to the Request as seeking information

 2    irrelevant to any party’s claims or defenses.

 3          Subject to and without waiving the foregoing objections, the Request is

 4    admitted in part, denied in part. WSU admits that some WSU Athletics

 5    Department employees utilized, at times, Imprivata Cortext as a HIPAA-

 6    compliant text application for some student athlete-related “medical and health-

 7    related issues” in 2020, 2021, and 2022. Following a reasonable investigation,

 8    WSU denies that Cortext was used by WSU Athletics employees specifically to

 9    communicate about Plaintiff’s vaccination status. Except as otherwise admitted,

10    denied.

11
12          DATED this 3rd day of September 2024.

13                                   ROBERT W. FERGUSON
                                     Attorney General
14
                                     s/Zachary P. Pekelis
15                                   ZACHARY J. PEKELIS, WSBA #44557
                                     W. SCOTT FERRON, WSBA #61154
16                                   ERICA P. CORAY, WSBA #61987
                                     AI-LI CHIONG-MARTINSON, WSBA #53359
17                                   Special Assistant Attorneys General
                                     PACIFICA LAW GROUP LLP
18                                   1191 2nd Avenue, Suite 2000
                                     Seattle, WA 98101-3404
19                                   (206) 245-1700
                                     Zach.Pekelis@pacificalawgroup.com
20
                                     SPENCER W. COATES, WSBA #49683
21                                   Assistant Attorney General
                                     Complex Litigation Division
22

      PLF.’S FIRST SET OF REQUESTS                13           ATTORNEY GENERAL OF WASHINGTON
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 1                                800 Fifth Avenue, Suite 2000
                                  Seattle, WA 98104-3188
 2                                (206) 464-7744
                                  Spencer.Coates@atg.wa.gov
 3
                                  Attorneys for Defendant Washington State
 4                                University

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      PLF.’S FIRST SET OF REQUESTS             14            ATTORNEY GENERAL OF WASHINGTON
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 1                           CERTIFICATE OF SERVICE

 2          I hereby declare that on this day I caused the foregoing document to be

 3    served upon all counsel of record.

 4          I declare under penalty of perjury under the laws of the State of

 5    Washington and the United States that the foregoing is true and correct.

 6          DATED this 3rd day of September 2024, at Seattle, Washington.

 7                                           s/Zachary J. Pekelis
                                             ZACHARY J. PEKELIS, WSBA #44557
 8                                           Special Assistant Attorney General
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      PLF.’S FIRST SET OF REQUESTS               15            ATTORNEY GENERAL OF WASHINGTON
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      DEF.’S ANSWERS AND                                                   (206) 464-7744
      OBJECTIONS THERETO                                               Exhibit M Page 16
